          Case 6:22-cr-06165-DGL Document 25 Filed 09/18/23 Page 1 of 5




UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

UNITED STATES OF AMERICA,                                         23-CR-6165 DGL

               v.                                    STATEMENT OF DEFENDANT WITH
                                                     RESPECT TO SENTENCNG FACTORS
MICHAEL ALAN JONES,

                     Defendant.
___________________________________



       Steven Slawinski affirms under penalty of perjury that:



       I am an Assistant Federal Public Defender in the Western District of New York and

represent the Defendant, Michael Alan Jones, in the above-entitled action brought by the United

States of America. I make this affirmation in accordance with the requirements of Section 6A1.2

of the Sentencing Guidelines, “Statement of Defendant with Respect to Sentencing Factors,” as

promulgated by the United States Sentencing Commission.



       In accordance with those rules, it is hereby stated on behalf of the defendant that I have

reviewed the Presentence Report and have discussed the same with him. There are no

unresolved statements, conclusions or other information contained in that report to which he

disputes or objects.



        Jones would request a sentence of time-served, which is in line with the Rule

11(c)(1)(B) plea agreement, where the parties agreed that they could ask for a sentence outside of

the 24-30 months sentencing guideline range. This is also the range as calculated by the PSR.




                                               -1-
          Case 6:22-cr-06165-DGL Document 25 Filed 09/18/23 Page 2 of 5




Jones will address the Court at sentencing and again accept responsibility for his misconduct,

which involves a single violation of 18 U.S.C. 922(g)(1), being a felon in possession of a

firearm. Sentencing is now scheduled to take place on September 27, 2023 at 2:00 p.m.



       Under the Sentencing Guidelines and the 18 U.S.C. Section 3553(a) factors, a sentence of

time-served represents adequate but not excessive punishment for Jones’ offense. Jones has

already served six months and seven days in custody for this offense. He was then released by

the Court on December 9, 2022 because an intramuscular leg wound he previously had kept

getting infected after numerous stays at the hospital. If the Court recalls, he was being shuttled

between the Monroe County Jail and Strong Hospital where he received intravenous antibiotics

for his infection. When he was discharged and went back to the jail, his leg would get re-infected

and the process of hospitalization would begin again. In December 2022, there was a real

possibility that his leg would have to be amputated. Then the parties agreed to his release on

home detention with electronic monitoring and he subsequently flew to his parents’ house in

Haw River, North Carolina, where he has been confined since. At the time of sentencing, he will

have served nine months and 18 days on home confinement without any incidents or violations.

A letter from his supervising probation officer is in North Carolina is attached as an exhibit.



       With his custodial and home confinement time, Jones will have served over 15 months

under some type of custodial capacity by the time of sentencing. While this is short of the 24

months of the low-end of his guideline range, the Court needs to consider all the 18 U.S.C.

3553(a) factors here.




                                                -2-
           Case 6:22-cr-06165-DGL Document 25 Filed 09/18/23 Page 3 of 5




       When he was released from the Monroe County Jail, Jones could barely walk on his leg

because his left calf muscle had become so infected (PSR Para. 62-63). This was due to his not

getting adequate medical care and antibiotics at the jail. Since returning home to North Carolina,

the infection has subsided, but he is still going to weekly physical therapy appointments and

wears an ankle-foot orthotic when he walks and another when he sleeps to help his healing.

Based on his previous history, the Court should consider that there is a real possibility that his

leg may become re-infected at the BOP and the infection cycle will start over again. 1



       While he has been on home detention, Jones has complied with all conditions. This

shows that he has learned his lesson and is not at risk of recidivating. Furthermore, his criminal

history is very minor. His only prior convictions are for the North Carolina two felonies of

“crimes against nature” where his then-minor girlfriend twice performed oral sex on him in the

boys’ bathroom of their high school. He received a suspended sentence for his actions after

pleading guilty. This is the predicate for his 922(g) conviction.



           The offense of conviction was a purely possessory offense where Jones was taken into

custody peacefully and without incident in LeRoy during a traffic stop. He has accepted

responsibility for having the AR-15 in his vehicle as he travelled through New York with a

friend. Jones never intended to transfer the firearm or use it for any illegal purpose. A letter of

acceptance of responsibility by Jones is attached as an exhibit.



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         Jones’ left calf has been infected since December 2021, when he sought treatment while
hiking the Appalachian Trail in Virginia. As he explained it to me, he was malnourished during
his hike and his body started to “eat” his calf muscles for energy. Leg infections then developed
and he had to have surgeries to remove infected and dead tissue. The infection in his left calf
then resurfaced while he was in the Monroe County Jail.




                                                 -3-
          Case 6:22-cr-06165-DGL Document 25 Filed 09/18/23 Page 4 of 5




       Regarding the allegations in the PSR that Jones is a White Nationalist, it is true that he is

a former member of the Proud Boys organization in North Carolina. At the time he joined, he

was a teenager and was influenced by the Internet and his own youthful anger. However, since

that time, he has changed his thinking and actually worked as a paid FBI informant who

infiltrated the Charlotte chapter of the Proud Boys and gave agents valuable information about

the organization. Jones has since matured and no longer harbors these views. In fact, renouncing

these views was a prerequisite for his parents allowing him to come back to their home after he

was released from jail.



       As for his future, Jones either would like to get a job as a trucker or go back to college

and study agriculture. He is waiting to see how this case resolves before making any concrete

plans one way or another.



       In summary, Jones is a young man who is an ideal defendant for time-served sentence

and a term of supervision to make sure he stays on the right track. Further incarceration would

not serve any sentencing goals, especially because of the past and potential future health issues

surrounding his leg.



        Thank you for your consideration of this request.



       DATED: Rochester, New York
              September 18, 2023




                                                -4-
        Case 6:22-cr-06165-DGL Document 25 Filed 09/18/23 Page 5 of 5




                                         Respectfully submitted,


                                         /s/ Steven Slawinski
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TO:   Charles Moynihan
      Assistant United States Attorney

      Jacqueline Finucane
      United States Probation Officer




                                           -5-
